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       EXHIBIT "A"
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                                                                              11/29/2021
Wool'f, Andrew Robert                                                         Seventh Judicia) Dlstrict, Bonnevilie County
                                                                              Penny Mannlng, CIerk of tjie Court
                                                                              By: ^ar/ Griffltti, Deputy Clerk

 Jolm M. Avondet, ISB No. 7438
 BEARD ST. CLAIR GAFFNEY PA
 955 Pier View Dfive
 Idaho Falls, ID 83402
 Telephonc:(208)523-5171
 Facsimile: (208) 529-9732
 Email: javondet@beardstclair.com

 Attomeys for the Plaintiff

         DISTRICT COURT, SEVENTH JUD1CIAL DISTRICT, STATE OF IDAHO
                           COUNTY OF BONNEVILLE

  THE TELESPAM PROJECT LLC, an Idaho
  limited liability company,
                                                   CaseNo.: CV10-21-6979
          Plaintiff,

  vs.
                                                   SUMMONS
  LOANME LLC,

          Defendant.

       NOTICE: YOU IIAVE BEEN SUED BY TIIE ABOVE-NAMED
         FS(S). THE COURT MAY ENTEK JUDGMENT AGAINST YOU
 WITHOUT FURTHER NOTICE UNLESS YOU 1UESPOND WITHIN TWENTY-
 ONE (21) DAYS. READ TBE, INFORMATION BELOW.

 TO: LOANMELLC_.

          You are hereby notified that in order to defend this lawsuit, an appropriate written

 response must be filed with the above desigiiated Court within 21 days after service ofthis

  Summons on you. Ifyou fail to so respond, the Court may enterjudgment against you as
                                                 •
  demanded by the Plaintiff(s) in the complaint.

          A copy ofthe Complaint is served with this Summons. Ifyou wish to seek the

  advice or representation by an attorney in this matter, you should do so promptly so that
                                                      and other legal riglits protected.
  your vvritteu response, ifany, may be filed in time




                                                                                      Summons -1
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An appropriate written response requires compliance with Rule 2 and othcr Idaho Rules of

Civil Procedure aiid shall also include:

        a) The title and number ofthis case,

        b) [fyour response is an Answer to the Complaint, it must contain admissions or

           denials of the separate allegations ofthe Complaint and other defenses you may

           claim.

        c) Your signature, mailing address and telephone number, or the signature, mailing

           addrcss and telephone ofyour attorney.

        d) Proofofmailing or delivery ofa copy ofyour response to Plaintiffs attorney, as

           clesignated above.

        To determine whether you must pay a filing fee vvith your response, contact the

Clerk ofthe above-named Court, 605 N. Capital Ave., Idaho Falls, ID 83402,208-529-

1350.
            11/29/2021                         ^w'"""',.
DATED:
                                           (^/                Y-t
 Penny Manning                                   BOWIEMILLE

ClerkoftheCourt
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                                           \^8?.w^.^
By:.
   Deputy Clerk




                                                                               Summons - 2
       Case 4:22-cv-00024-REP Document 1-2 Filed 01/19/22 Page 4 of 9
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Woolf, Andrew Robert                                                              Ponny Manning. Clerk oftho Court
                                                                                  By: Mary Anne Grifffih. Deputy Clerit


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Attorneys for the Plaititiff

        DISTRICT COURT, SEVENTH JUDICIAL DISTRICT, STATE OF IDAHO
                          COUNTY OF BONNEVILLE

 THE TELESPAM PROJECT LLC, an Idaho
 limited liability company,                                     CV10-21-6979
                                                   Case No.:
          Plaintiff,

 vs.
                                                   COMPLAINTAND JURY DEMAND
 LOANME LLC,

           Defendant,

          The Plaintiff, The TeleSpam Project LLC, through counsel ofrecord, Beard St.

Clair GafBiey PA, hereby complains and alleges as follows:
                                            PARTIES

          1.     The Plaintiff is aii Idaho limited liability compaiiy with its principal place of

business located in Rexburg, Idaho.

          2,     The Defendant, LoanMe LLC, is a Delaware limited liability company with

its place ofbusiness located in the state ofNevada.
                                JTJRISHTCTTON AND VENUE

          3.      The Court hasjurisdiction over this matter pursuant to 47 USC Section

 227(b)(3) Idaho Code Section 5-514.

          4,      Venue is proper in Boniieville County, Idaho pursuant to Idaho Code Section

 5-404,

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                                FACTUAL BACKGROUND

          5.    In 1991, Congress enacted the Telephone Consumer Protection Act

("TCPA") in response to a growing number ofconsumer complaints regarding certain

telemarketing practiees.

          6.    The TCPA regulates, among other things, the usc ofautomatecl dialing

systems.

          7.    47 U.S.C.A. Section 227(a)(l) defines an automatic telephone dialing

system ("ATDS") as equipment having the capacity (a) to store or produce telephone

numbets to be called using a random or sequential number generator; and (b) to dial such

numbers.

          8.    Specifically, 47 U.S.C.A, Section 227(l)(A)(iii) prohibits any call using an

ATDS or an artificial or prerecorded voice or cellular phone without the prior consent t>y

the person being called unless said eall is for emergency purposes,

          9.    According to the findings by the Federal Communications Commission

("FCC"), such calls are prohibited becaiise automatetl or prerecorded telephone calls are a

grcater nuisancc and invasion ofprivacy than live solicitation calls. The PCC has also

recognized that vvireless customers are sometimes charged for incoming calls.

          10.   Upon infonnation and belief, Defendant employs an ATDS which meets the

definition set forth in 47 U.S.C.A. Section 227(a)(l).

          11.   Priorto thecommencementofthis action.thePlaintiffwas assignedall
                                                          "Assignor"), an iiidividual. The
claims possessed by Matthev/T. VanderSloot (hereafter

Plaintiff is now the holder thereoffor siich purposes vvith the rights to assert said assigned

claims,




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         12.   The Defendant has repeatedly contacted Assignor on his cellular phone

using an ATDS and made at least two (2) calls to thc cell phone,

         13.      The telephone number that the Defendant used to contact Assignor was and

is assigned to a cellular telephone service as specified in 47 U.S.C.A. Section

227(b)(l)(A)(iii).

         14.      Defendant did not have prior express consent to place automated calls to the

cellular phone.
                                                                              "emergency
         15.      Defendant's calls to Assignor's eellular phone were not for

purposes.

         16.      Pursuant to the TCPA and the FCC's Januaiy 2008 Declaratory Ruling, the

burden is on the Defendant to demonstrate that it hacl prior express consent to call the

cellular phone using an ATDS.

               COUNT ONE: NEGLIGENT VIOLATION QF THE TCrA

         17.      All prior paragraphs are incorporated by reference as iffully set forth herein.

         18.      The Defendant negligently placed automated calls to Assignor's cellular

number without prior consent.

         19.      Each ofthe aforementioned calls by Defendant constitutes a violation ofthe

TCPA.
     •   20.      As a result of the Defendant's negligent violations ofthe TCPA, Plaintiff is

entitled to recover its actual dainages or an award of $500 in statutory damages for each

 violation ofthe TCPA pursuant to 47 U.S.C.A. Section 277(b)(3)(B).

         21.      The Plaintiffhas been required to retain Beard St. Clair Gaffiiey PA in order

 to protect its rights. The Plaintiffis entitled to its attorney fees and costs pursuant to Idaho



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Codi; Sections 12-120,12-121, and Rule 54 ofthe Idaho Rules ofCiviI Procedure, ancl any

other applicable statute or rule.

         CQUNTTWO: ICNOWING/WILLFUL VIOI.ATION OF THE TCPA

        22,     All prior paragraphs are incorporated by reference as if fully set forth herein.

        23.     The Defendant knowiiigly and/or willfully placed multiple automated calls

to the Assignor's cellular plione without prior express consent.

        24.     Each of the aforementioned calls by the Defendant constitutes a knowing

and/or willful violation ofthe TCPA.

       25.      As a result of ttie Defendant's knowing and/or willful violation ofthe TCPA,

the Plaintiffis entitled to an award oftreblethe Plaintiff's damages or up to $1,500.00 per

violation, whichever is greater, pursuaiitto 47 U.S.C.A. Sections 227(b)(3)(B) and

227(b)(3)(C).

       26.      The Plaintiff has been required to retain Beard St. Clair Gaffney PA in order

to protect its rights, The Ptaintiff is entitled to its attorney fees an<l costs pursuant toIdaho

Code Sections 12-120, 12-121, and Rule 54 ofthe Idaho Rules ofCivil Procedure, and any

other applicable statute or rule.

   CQUNT THREE: YIOLATION OF IDAHO CONSUMER PROTECT10N ACT

       27.      AII prior paragraphs are incorporated by reference as iffully set forth herein.

       28.      Idaho has prohibited and declared unla-\vful any act or practice tliat is

misleading, false, or deceptive to tlie consumer in Idaho Code Sectio]i 48-603.

       29.      Idaho has also declared tliat tlie use ofunconscionable methods, acts or

practices are unlawful. T.Jncoiiscionable metliods, acts or practices includes those that

outrage or offend the public conscience.




                                                                Coinplaint and Jury Demand - 4
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        30.     The acts ofths Defendfint constitute violations ofldaho's Consumer

ProtectionAct insofar as the Defendant employed deceptive, false, or misleading acts or

practices that outrage or othenvise offend the public conscience.
        3 i.    The Plaintiff is entitled to recover its actual damages or one thousnnd tiollars

(S 1,000.00), whichever is gt-eater for tlie foregoing violations.
        32.     Thc Plaintiffhas been required to retain Beard St, Clair Gaffney PA in order

to protect its rights. The Plaintiff is entitled to its attorney fees and costs pursuant to Idaho

Code Sections 12-120, 12-121,48-608, and Rule 54 ofthe Idaho Rules ofCivil Proceclure,

and any other applicable statute or rule.

                                       JURYDEMAND

        The Plaintiff deinands ttial by ajury ofno less than 12 persons pursuant to Rule 38

ofthe Idalio Rules ofdvil Procedure.

                                   PRAYER FOR RELIEF

        WHEREFORE, the PInintiffprays for the following relief: .

        1.      Entry ofjiidgnient for the Plaintiff and against the Defeiidant in an amount

to be determined at trial.

        2.      Awarding the Plaintiffactiial or statutory damages for willful violations of

the TCPA iii the amoiint of $3,000.00.

        3.      Actual or statutory damages pursuant to the Idaho Consumer Protection Act.

        4.      Awarding the Plaintiff its attorney fees and costs pursuant to Idaho Code

Sections 12-120,12-121, 48-608, and Rule 54 ofthe Idaho Rules ofdvil Procedure, and

any other applicable statute or rule. Ifthis matter is resolved through entiy ofdefault and

defaultjudgment, then awarding attorney's fees in the amount of $1,000.00,



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       5.        Awarding the Plaintiffany other reliefdeemedjust and eqiiitable under the

circumstances.

UATED; November 29, 2021.

/s/John M. Avondet
John M. Avondet
OfBeard St. Clair Gaffney PA
Attorneys for the Plaintiff




                                                             Complaint and Jury Demand - 6
